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12                         UNITED STATES DISTRICT COURT

13                        EASTERN DISTRICT OF CALIFORNIA

                                 SACRAMENTO DIVISION
14

15
      X CORP.,                             No. 2:23-cv-01939-WBS-AC
16
                    Plaintiff,
17
           v.                              PLAINTIFF’S SUPPLEMENTAL BRIEF
                                           IN SUPPORT OF MOTION FOR
18    ROBERT A. BONTA, Attorney            PRELIMINARY INJUNCTION
      General of California, in his
19    official capacity,                   ORAL ARGUMENT

20                  Defendant.             Date: November 13, 2023
                                           Time: 1:30 p.m.
21                                         Crtrm: 5

22

23

24



     SUPPLEMENTAL BRIEF IN SUPPORT OF      i
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 1                                      INTRODUCTION

 2          The parties have agreed, and this Court recognized at oral

 3   argument, that the law in this case, AB 587, is content-based.                       See

 4   Defendant’s       Opposition      to   Motion         for     Preliminary    Injunction

 5   (“Opp.”)     at    32    (conceding    that          AB     587   is   content   based);

 6   Defendant’s       Supplemental      Brief       in    Opposition       to   Motion   for

 7   Preliminary Injunction (“Supp. Br.”) at 16 (same); Transcript of

 8   Nov.   13,   2023       Hearing   on   Motion         for     Preliminary    Injunction

 9   (“Hearing Tr.”) at 16:11 (“The statute here is content based.”);

10   id. at 23:19 (“THE COURT: I think I said it was content-based.”).

11   At the November 13 hearing, the Court repeatedly asked the parties

12   what standard of review applies to content-based laws that compel

13   speech that is not commercial.              In this regard, the Court posed

14   numerous hypotheticals, such as existing requirements to provide

15   information in connection with income tax laws and on applications

16   for driver’s licenses.            See, e.g., Hearing Tr. at 27:3–7 (Court

17   asking what standard of review applies “where there’s compelled

18   speech that is not commercial”); id. at 30:12–17 (Court asking

19   whether laws compelling personal factual information in connection

20   with “fill[ing] out [] income tax returns” or “tak[ing] the DMV

21   test” would trigger strict scrutiny).                        AG Bonta’s supplemental

22   brief neither answers this Court’s question about the standard of

23   review for content-based laws governing non-commercial speech nor

24   addresses the Court’s hypotheticals.



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 1          Nevertheless, controlling case law provides a clear answer.

 2   The    Supreme   Court    has   repeatedly            held   that     “content-based

 3   regulation[s] of speech” are “presumptively unconstitutional and

 4   may be justified only if the government proves that they are

 5   narrowly tailored to serve compelling state interests [i.e., are

 6   subject to strict scrutiny].”         Nat’l Inst. of Fam. & Life Advocs.

 7   v. Becerra (“NIFLA”), 138 S. Ct. 2361, 2371 (2018); see also Reed

 8   v. Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015) (same).                         The

 9   Court has also observed that there are some “categories of speech”

10   that are “exemp[t]” from “the normal prohibition on content-based

11   restrictions,” but has outlined a stringent test that applies to

12   such   exceptions    —   namely,    that       they    apply   only    if   there    is

13   “‘persuasive evidence . . . of a long (if heretofore unrecognized)

14   tradition’ to that effect.’”        NIFLA, 138 S. Ct. at 2372 (rejecting

15   application of less-than-strict-scrutiny protection for content-

16   based laws that constitute “professional speech” under this test)

17   (quoting Brown v. Entm’t Merchs. Ass’n, 564 U.S. 786, 792 (2011));

18   see also IMDb.com Inc. v. Becerra, 962 F.3d 1111, 1121 (9th Cir.

19   2020) (same).    This standard (which AG Bonta does not even mention,

20   let alone address) provides the answers to the hypotheticals asked

21   by the Court at oral argument — e.g., it explains why strict

22   scrutiny does not apply to tax laws, even if those laws are content-

23   based and compel non-commercial speech — and also makes clear why

24   strict scrutiny applies in this case.



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 1         In arguing that strict scrutiny does not apply, AG Bonta puts

 2   all of his proverbial eggs in the Zauderer and Central Hudson

 3   baskets.     Those cases recognize two limited exceptions to the

 4   general rule that content-based laws, like AB 587, are subject to

 5   strict scrutiny, both of which are limited to the context of

 6   commercial speech.      But AB 587 does not satisfy the standard for

 7   either exception.     It does not satisfy Zauderer because it (1) does

 8   not involve commercial speech; (2) does not compel speech that is

 9   “purely    factual”;     (3)    does   not     compel   speech      that   is

10   “uncontroversial”; (4) does not advance the type of substantial

11   interest Zauderer requires; and (5) is inextricably intertwined

12   with fully protected political speech to the extent that the speech

13   at issue is commercial at all.             Central Hudson does not apply

14   either because the speech here is not commercial under the relevant

15   tests.

16         Significantly, AG Bonta can point to no other basis for

17   applying any standard other than strict scrutiny – and the case

18   law puts the burden on him to do so.             Under NIFLA, Brown, and

19   IMDb.com, unless AG Bonta comes forward with persuasive evidence

20   that there is a long tradition of permitting the type of content-

21   based regulation of speech exemplified by AB 587, strict scrutiny

22   applies.     There is no such “persuasive evidence” of               a “long

23   tradition” here, as there is with the income tax hypothetical posed

24   by this Court.     For this reason — and because AB 587 is also (1)



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 1   viewpoint-based,       (2)       regulates       “speech   about         speech,”   (3)

 2   impermissibly interferes with X Corp.’s right to exercise editorial

 3   judgment about content on its platform, and (4) provides the AG

 4   with   nearly      unfettered     discretion        to   pressure    X     Corp.    into

 5   regulating content that the State disfavors — strict scrutiny

 6   unquestionably applies.

 7                                         ARGUMENT

 8          Where, as here, a law is both (1) “content based” (Opp. at

 9   32) and (2) does not regulate a “category of speech” that is

10   “exemp[t]”      from       the   “normal         prohibition   on        content-based

11   restrictions,”      the     “content-based        regulation[]      of    speech    [is]

12   subject to strict scrutiny.”           NIFLA, 138 S. Ct. at 2371–72.                See

13   also    id.   at    2372     (“This   Court’s       precedents      do     not   permit

14   governments to impose content-based restrictions on speech without

15   ‘persuasive evidence . . . of a long (if heretofore unrecognized)

16   tradition’ to that effect.”) (quoting Brown, 564 U.S. at 792);

17   IMDb.com Inc., 962 F.3d at 1121 (same); Boyer v. City of Simi

18   Valley, 978 F.3d 618, 623 (9th Cir. 2020) (describing a “firm rule”

19   required by Supreme Court precedent that “mandates strict scrutiny

20   review” whenever an ordinance makes content-based distinctions —

21   “no matter how sensible the distinction[s] may be”).

22          It is undisputed here that AB 587 is content based.                       And AG

23   Bonta points to only two possible exceptions to the general rule

24   that strict scrutiny applies: those set forth in the Supreme



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 1   Court’s decisions in Zauderer v. Office of Disciplinary Counsel,

 2   471 U.S. 626 (1985), and Central Hudson Gas & Elec. Corp. v. Pub.

 3   Serv. Comm’n of New York, 447 U.S. 557 (1980).              Opp. at 8, 20;

 4   Supp. Br. at 16.     Neither exception applies to AB 587, however, as

 5   discussed in detail below.

 6         Zauderer does not apply because AB 587 compels (1) non-

 7   commercial    speech    that   is   (2)    neither    purely   factual   nor

 8   uncontroversial, and (3) AB 587 does not further a “substantial

 9   interest” beyond “the satisfaction of mere ‘consumer curiosity,’”

10   as is required for Zauderer’s application in the Ninth Circuit.

11   CTIA - The Wireless Ass’n v. City of Berkeley, California (“CTIA

12   II”), 928 F.3d 832, 844 (9th Cir. 2019).             Zauderer also does not

13   apply because (4) AB 587’s compelled disclosures are, at the very

14   least, inextricably intertwined with otherwise fully protected

15   speech.

16         Central Hudson does not apply because the speech at issue is

17   not commercial under the relevant tests.

18         Since neither Zauderer nor Central Hudson applies — and there

19   is no “persuasive evidence” of “a long [] tradition” of some other

20   exception to the general rule that content-based laws are subject

21   to strict scrutiny and are presumptively unconstitutional — strict

22   scrutiny applies to AB 587.

23

24



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 1       I.     Zauderer Does Not Apply

 2                        i. Zauderer Does Not Apply Because AB 587 Does Not
                             Compel Commercial Speech
 3
              In his opening brief (Opp. at 21 n.8), AG Bonta misstated the
 4
     relevant      test     for   determining       whether      speech    qualifies     as
 5
     “commercial speech” under the First Amendment by ignoring the
 6
     primary test established by both Supreme Court and Ninth Circuit
 7
     case law — namely, whether the speech “does no more than propose a
 8
     commercial transaction.”          Hunt v. City of Los Angeles, 638 F.3d
 9
     703, 715 (9th Cir. 2011) (quoting United States v. United Foods,
10
     Inc., 533 U.S. 405, 409 (2001)); see also Plaintiff’s Reply in
11
     Support of Motion for Preliminary Injunction (“Reply”) at 2, 9-10
12
     (citing six Supreme Court cases, Hunt, and IMDb.com in support of
13
     this standard).        AG Bonta urged the Court (Opp. at 21 n.8) to apply
14
     the test set forth in Bolger v. Youngs Drug Prods. Corp., 463 U.S.
15
     60 (1983), even though the Ninth Circuit has made clear that that
16
     test applies only “[w]here the facts present a close question.”
17
     Hunt, 638 F.3d at 715. In his supplemental brief, AG Bonta retreats
18
     even further from the relevant standards, arguing that the Bolger
19
     test – which he had previously urged this Court to apply – need
20
     not be applied “strictly” or even at all in cases involving the
21
     potential application of Zauderer.              Supp. Br. at 5.        AG Bonta now
22
     suggests, without any real support, that compelled disclosures
23
     about      consumer    products   and    services        are   just    “treated     as
24
     ‘commercial     speech’”     without    the     need   to    apply    any   test   for


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 1   commercial speech whatsoever.                Id. at 5–8.

 2         AG     Bonta’s         effort     to    avoid       the   relevant     tests     is

 3   understandable — since AB 587 comes nowhere close to satisfying

 4   them — but it is contrary to established, binding law.                      As AG Bonta

 5   concedes, Opp. at 8–9, 13 n.5, 19, 28; Supp. Br. at 1, 3–4, 16,

 6   Zauderer applies only to compelled speech that is commercial, see

 7   Opp. at 8 (“The standard for analyzing compelled disclosures in

 8   the   context        of    commercial     speech     is   the   test    established    in

 9   Zauderer[.]”).            While some cases may engage in only a perfunctory

10   analysis of the commercial speech question – perhaps because the

11   parties    do    not       dispute    that    the    speech     is   commercial – that

12   provides        no        justification      for      avoiding       well-established,

13   controlling case law about what constitutes commercial speech.

14         Each      of    the     cases     AG   Bonta    cites     in     support   of   his

15   extraordinary proposition — that no analysis of the commercial

16   nature of speech is necessary in Zauderer cases (Supp. Br. at 6–7)

17   — in fact supports the opposite conclusion.                     For example, AG Bonta

18   argues that, in NIFLA, the Supreme Court applied Zauderer without

19   considering whether the compelled speech at issue was commercial.

20   Id. at 6.       This misstates the holding in NIFLA, where the Court

21   plainly held that “[t]he Zauderer standard does not apply,” 138 S.

22   Ct. at 2372, to one portion of the challenged law (the licensed

23   notice requirement) and that it “need not decide whether the

24   Zauderer standard applies” to another portion (the unlicensed



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 1   notice requirement), id. at 2377; see also Nat’l Ass’n. of Wheat

 2   Growers v. Bonta, 2023 WL 7314307, at *12 (9th Cir. Nov. 7, 2023)

 3   (“The     Supreme   Court    [in    NIFLA]    found    that        Zauderer   was

 4   inapplicable[.]”).        Thus, the Supreme Court did not hold that

 5   Zauderer applied at all.       Moreover, the Court did not suggest that

 6   Zauderer applies even when there is no showing that the compelled

 7   speech at issue is commercial.         Instead, the Court confirmed the

 8   opposite: that Zauderer “govern[s] only ‘commercial advertising.’”

 9   NIFLA, 138 S. Ct. at 2372 (quoting Zauderer, 471 U.S. at 651).1

10   NIFLA thus provides no support for AG Bonta’s argument that no

11   commercial speech analysis is necessary in Zauderer cases.

12          AG Bonta’s citation to Nat’l Ass’n. of Wheat Growers fares no

13   better.    AG Bonta’s supplemental brief argues that, in that case,

14   “the    Ninth   Circuit   applied   Zauderer    scrutiny      to    the   State’s

15   proposed warning language without any explicit consideration of

16   whether the law compelled commercial speech.”            Supp. Br. at 6–7.

17   This too misstates the holding of that case.           As this Court knows,

18   in Nat’l Ass’n. of Wheat Growers, the Ninth Circuit expressly held

19   that the Proposition 65 product warning at issue, concerning the

20   presence of a particular chemical, “does not qualify for the lower

21   level of review under Zauderer” “because it is neither ‘purely

22   factual’ nor ‘uncontroversial.’”            Nat’l Ass’n of Wheat Growers,

23

24   1 See also Hurley v. Irish-American Gay, Lesbian and Bisexual Group of Boston,
     Inc., 515 U.S. 557, 573 (1995) (explaining that Zauderer does not apply outside
     the context of compelled disclosures in commercial advertising).

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 1   2023 WL 7314307, at *12–14.

 2         Moreover, the case does not stand for the proposition, let

 3   alone even suggest, that speech under Zauderer need not meet the

 4   test for commercial speech.         To the contrary, the Court there

 5   acknowledged that “[t]he Supreme Court has held that Zauderer

 6   review is only available ‘in certain contexts,’” and unequivocally

 7   reaffirmed that Zauderer applies only to compelled disclosures of

 8   commercial speech.      Id. at *10 (“The Supreme Court recognizes two

 9   levels of scrutiny governing compelled commercial speech . . .

10   Central Hudson . . . [and] Zauderer[.]”) (emphasis added); id. (To

11   qualify for review under Zauderer, the compelled commercial speech

12   at   issue   must   disclose    “purely    factual   and   uncontroversial

13   information.”) (emphasis added).

14         In any event, the compelled disclosures in Nat’l Ass’n of

15   Wheat Growers — which consisted of warning labels on products —

16   are inherently distinct from AB 587’s forced disclosures.            Speech

17   on product labels — unlike the speech at issue in AB 587 — is

18   designed to promote sales and facilitate purchase of the product.

19   See Rubin v. Coors Brewing          Co., 514 U.S. 476, 476–77 (1995)

20   (subjecting regulation of speech on product labels to intermediate

21   scrutiny applicable to commercial speech).            AB 587’s compelled

22   disclosures serve neither of these purposes.

23         AG Bonta’s reliance on CTIA II fails for the same reason, as

24   the law at issue in that case mandated a health warning about cell



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 1   phone radiation by cell phone retailers to “prospective cell phone

 2   purchasers” on a “prominently displayed poster” in their stores or

 3   “on a handout” provided to the customer in the store.          928 F.3d at

 4   836–38.    In other words, the warning was essentially appended to

 5   the product itself at the point of sale.         It is no surprise, then,

 6   that the defendant in CTIA II did not even dispute whether the

 7   compelled disclosures at issue constituted commercial speech.           Id.

 8   at 841.   CTIA II also expressly affirmed that Zauderer applies only

 9   to “compelled commercial speech.”       Id. at 837 (emphasis added).     It

10   was undeniable that the speech there — physical health warnings

11   about a product provided at the point of sale — met the test for

12   commercial speech.

13         Finally, AG Bonta is correct that, in the NetChoice cases,

14   the Eleventh and Fifth Circuit Courts of Appeal applied Zauderer

15   without engaging in fulsome analysis of whether the compelled

16   speech at issue was commercial.            But that does not support the

17   proposition that no such analysis is necessary.           As noted at the

18   oral argument, X Corp. respectfully submits that these courts erred

19   in failing to perform any analysis on this threshold issue. Hearing

20   Tr. at 16:5–18:3.     In any event, unlike AB 587, those laws do not

21   impose content-based restrictions about controversial categories

22   such as “hate speech,” “extremism,” “misinformation,” and so forth.

23         On this point, the more recent case of Volokh v. James is

24   instructive.     2023 WL 1991435 (S.D.N.Y. Feb. 14, 2023).           Of the



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 1   three laws at issue in the two NetChoice cases and Volokh, the law

 2   in Volokh is the most analogous to AB 587 because it compelled

 3   social media companies to speak about particular categories of

 4   content (there, “hateful conduct”), and found that strict scrutiny

 5   applied on that basis.         Cf. NetChoice, LLC v. Att’y Gen., Fla., 34

 6   F.4th       1196,   1227   (11th     Cir.   2022)       (“S.B.     7072’s    disclosure

 7   provisions” are “content-neutral regulations”); NetChoice, LLC v.

 8   Paxton, 49 F.4th 439, 446 (5th Cir. 2022) (listing HB 20’s content-

 9   neutral disclosure requirements).

10           X   Corp.    acknowledges     that,        at   oral     argument,   the   Court

11   suggested that the law in Volokh differed from AB 587 because the

12   law there defined the category of speech at issue – there, hateful

13   conduct – while AB 587 allows the social media companies to define

14   the categories of content at issue.                     See, e.g., Hearing Tr. at

15   25:5-6 (THE COURT: “[In Volokh,] I think they didn’t ask the

16   plaintiffs,         whoever   they    were,        to   define    it   [i.e.,   hateful

17   conduct].       They defined it.”).           While the Court is correct that

18   the New York statute in Volokh differed from AB 587 in that regard,

19   X Corp. respectfully submits that the statute was more similar to

20   AB 587 than the laws at issue in the NetChoice cases, which the

21   courts treated as content-neutral.                  The New York statute in Volokh

22   was the same as AB 587 in the ways that matter for determining the

23   correct standard of review in this case.

24           That is because the law in Volokh, like AB 587, did not require



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 1   social media companies to moderate “hateful conduct,” as defined

 2   by the State, at all.      Rather, the law “had two main requirements:

 3   (1) a mechanism for social media users to file complaints about

 4   instances of ‘hateful conduct’ and (2) disclosure of the social

 5   media   network’s    policy   for   how    it   will   respond   to   any   such

 6   complaints.”    Volokh, 2023 WL 1991435, at *2.         Significantly, there

 7   was nothing under the law that required a social media company to

 8   adopt any particular policy toward hateful conduct.              See id. at *7

 9   (“[T]he Hateful Conduct Law ostensibly does not dictate what a

10   social media website’s response to a complaint must be and does

11   not even require that the networks respond to any complaints or

12   take down offensive material[.]”); Affidavit of Joel Kurtzberg,

13   dated Nov. 28, 2023 (“Kurtzberg III Aff.”) Ex. 1 (Defendant Letitia

14   James’ Memorandum of Law in Opposition to Plaintiffs’ Motion for

15   Preliminary Injunction, Volokh, No. 22-cv-10195 (S.D.N.Y. Dec. 13,

16   2022)) at 9–10 (“There is no requirement as to how the network must

17   respond or what such a policy with respect to such reports must

18   be . . . Plaintiffs are not required to take any action with respect

19   to anything reported to them by their users . . . Plaintiffs may,

20   indeed, do nothing.”) (emphasis in original).           Thus, a social media

21   company could comply by (1) providing a mechanism for complaints

22   about hateful conduct and (2) disclosing that its policy was not

23   to censor constitutionally-protected hateful conduct and therefore

24   to respond to complaints by merely informing users of that fact.



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 1           In that sense, the New York statute did not require the social

 2   media      companies   to    moderate          specific      content    (there,     hateful

 3   conduct) the way the state wanted them to, but rather merely tried

 4   to “pressure” them to do so by disclosing their policies (or lack

 5   thereof) for addressing such content.                      See Kurtzberg III Aff. Ex.

 6   2    (Plaintiffs’      Memorandum         of    Law    in     Support      of   Motion    for

 7   Preliminary Injunction, No. 22-cv-10195 (S.D.N.Y. Dec. 6, 2022))

 8   at 15–16 (The Hateful Conduct Law “implies an affirmative duty to

 9   remove hateful conduct. . . . Even if the law merely requires a

10   response (without dictating the substance), . . . they must either

11   indicate they will not handle speech the state has labelled as

12   ‘hateful’ differently, and risk alienating visitors who share the

13   State’s animating concern, or reinforce the State’s message and

14   alienate visitors opposed to censorship.”).

15           Against     this    backdrop,      the       court    in    Volokh      applied   the

16   standard required by precedent - strict scrutiny - and struck down

17   the law.      See Volokh, 2023 WL 1991435, at *8 (“Because the Hateful

18   Conduct Law regulates speech based on its content, the appropriate

19   level of review is strict scrutiny.”)                  And, significantly, in doing

20   so   the    court    specifically         analyzed      whether      the    law   compelled

21   commercial     speech.        Id.    at    *7.        It     held   that    the   compelled

22   disclosures did “not constitute commercial speech” because the

23   “law’s      requirement       that    Plaintiffs             publish    their      policies

24   explaining how they intend to respond to hateful content on their



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 1   websites does not simply ‘propose a commercial transaction.’ Nor

 2   is the policy requirement ‘related solely to the economic interests

 3   of the speaker and its audience.’ Rather, the policy requirement

 4   compels a social media network to speak about the range of protected

 5   speech it will allow its users to engage (or not engage) in.”               Id.

 6         Here, it is hard to see how, under Ninth Circuit precedent,

 7   AB 587’s compelled disclosures — which are provided to the AG in a

 8   written report that will then be posted on the AG’s website — could

 9   be considered commercial speech warranting lessened First Amendment

10   protection.    They are not appended to X Corp.’s product and do not

11   appear on X Corp.’s website.        And the Terms of Service Report does

12   not merely require a plain, purely factual description of the

13   services provided by X Corp.; rather, it forces X Corp. to create

14   statistics about the kinds of actions taken (or not taken) to

15   moderate speech on the platform pursuant to X’s content moderation

16   policies.     That goes far beyond a simple factual description of

17   the product or service being offered.

18         AB 587’s compelled disclosures are thus materially distinct

19   from the types of commercial disclosures to which courts in the

20   Ninth Circuit have applied Zauderer.          See San Francisco Apartment

21   Ass’n v. City & Cnty. of San Francisco, 142 F. Supp. 3d 910, 916

22   (N.D. Cal. 2015), aff'd, 881 F.3d 1169 (9th Cir. 2018) (disclosures

23   by landlords to tenants “of the tenants’ rights before the landlord

24   commences    buyout   negotiations”);       Loan   Payment   Admin.   LLC   v.



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 1   Hubanks, 2018 WL 6438364, at *2, *7 (N.D. Cal. Dec. 7, 2018),

 2   aff’d, 821 F. App’x 687 (9th Cir. 2020) (disclosures on financial

 3   service “solicitation letters”); Olsen v. Gonzales, 350 B.R. 906,

 4   910 (D. Or. 2006), adhered to on reconsideration, 368 B.R. 886 (D.

 5   Or. 2007), aff'd in part, rev’d in part on other grounds sub nom.,

 6   Olsen v. Holder, 402 F. App’x 311 (9th Cir. 2010) (disclosures by

 7   “debt relief agencies” rendering “bankruptcy assistance” regarding

 8   “the extent of services provided and fees charged,” and “that their

 9   services contemplate bankruptcy”); CTIA II, 928 F.3d at 836–38

10   (health warnings to “prospective cell phone purchasers” on in-store

11   poster    or   handout);   Core-Mark    Int'l,    Inc.   v.   Montana   Bd.    of

12   Livestock, 2018 WL 5724046, at *2 (D. Mont. Nov. 1, 2018) (requiring

13   “code date” labeling on milk packaging); Masonry Bldg. Owners of

14   Oregon v. Wheeler, 394 F. Supp. 3d 1279, 1288, 1298 (D. Or. 2019)

15   (provision of information in “lease or rental application[s]” to

16   “prospective tenant[s]”).           Significantly, each of these courts,

17   before applying Zauderer, expressly acknowledged that the compelled

18   speech at issue was commercial.            AG Bonta’s suggestion that the

19   state of the law is otherwise (i.e., that courts may apply Zauderer

20   without   determining      whether   the     compelled   speech   at   issue   is

21   commercial) is simply incorrect and contrary to precedent.

22                   ii. Zauderer Does Not Apply Because AB 587’s
                         Compelled Disclosures Are Not Purely Factual And
23                       Uncontroversial

24         Even if this Court found that AB 587’s compelled disclosures



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 1   constitute commercial speech - which they do not - Zauderer still

 2   does not apply because the disclosures are neither purely factual

 3   nor uncontroversial.

 4         First, AB 587’s compelled disclosures are not purely factual.

 5   For   example,    §    22677(a)(4)(A)      requires   X    Corp.   to   provide    a

 6   “detailed description of content moderation practices used by the

 7   social media company for [its] platform, including, but not limited

 8   to, . . . [a]ny existing policies intended to address the categories

 9   of content described in paragraph (3)” (emphasis added).                    It is

10   difficult to see how providing a “detailed description” of which

11   of its policies are “intended to address” (a phrase which the

12   statute    does       not    define)    hate    speech,    racism,      extremism,

13   radicalization, disinformation, misinformation, harassment, and

14   foreign political interference, can be a disclosure of purely

15   factual information.          Whether a company has adopted a policy that

16   is    “intended       to    address”    difficult-to-define        categories     of

17   constitutionally-protected             speech   requires     the    exercise      of

18   judgment and the expression of opinions that could be the subject

19   of disagreement among reasonable individuals.2              It is certainly not

20   “purely” factual.

21         That is just one example.           With respect to other portions of

22   the statute, statistics such as the total number of items flagged

23

24   2 Indeed, these categories are subject to not just any disagreement, but the
     most significant form of disagreement for First Amendment purposes Ҳ political
     disagreement. See infra at Sec. I(iv).

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 1   by   the    social    media     company   as    falling    within       the    various

 2   categories of content, see § 22677(a)(5)(A), are not purely factual

 3   either, because placing a user’s post in a particular category is

 4   itself an act of judgment.             Similarly, the act of explaining why

 5   posts were flagged — e.g., by “disaggregat[ing]” those statistics

 6   by   content      category,     see   § 22677(a)(5)(B)(i)    —     is    not       purely

 7   factual either.       See also Affidavit of Joel Kurtzberg, dated Nov.

 8   2, 2023 (“Kurtzberg II Aff.”) Ex. 1 (Eric Goldman, Zauderer and

 9   Compelled Editorial Transparency, 108 Iowa L. Rev. Online 80, 93

10   (2023)).

11           Second,      AB     587’s      compelled    disclosures              are      not

12   uncontroversial.          By forcing X Corp. to publicly state whether it

13   has policies intended to address hate speech, racism, extremism,

14   radicalization, disinformation, misinformation, harassment, and

15   foreign political interference, and how it defines each of these

16   topics, AB 587 forces X Corp. to take a position on the most

17   controversial, political topics in the public discourse today and

18   to disclose that position publicly.             Decisions about how to define

19   these      categories      or   whether   to    moderate    them        at    all    are

20   controversial and political.

21           AB 587 forces social media companies to take a public stance

22   on whether to define and regulate any of the categories of content

23   identified in the statute.             The legislation of that requirement

24   allows the state to frame the debate about content moderation — by



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 1   suggesting categories of speech that the State seems to think

 2   should be disfavored or censored — rather than allowing the social

 3   media companies to frame the debate themselves.             The State argues

 4   that AB 587 is not controversial because it only requires social

 5   media companies to disclose information about their own choices in

 6   regulating content and that does not force them to “convey a message

 7   fundamentally at odds with [their] mission.”                Supp. Br. at 14

 8   (citing CTIA II, 928 F.3d at 845).            While that argument may have

 9   some superficial appeal, it is an oversimplification.             Sometimes,

10   being forced to publicly disclose your own position on highly

11   contentious topics in response to questions formulated by the State

12   is controversial, even if you are not forced to adopt the State’s

13   views.    That is why the Ninth Circuit in CTIA II strongly suggested

14   that cell phone warnings would be controversial under Zauderer if

15   they “force[d] cell phone retailers to take sides in a heated

16   political controversy.”       928 F.3d at 848.

17           An analogy outside of the commercial speech context helps

18   illustrate the point.        Imagine a state law that, in the interest

19   of transparency, forced individuals running for President of the

20   United States to publish their positions on several “hot button”

21   political issues (e.g., whether abortion should be permitted in

22   cases    of   incest   and   rape   or   whether   former   President   Trump

23   committed any crimes) on which, in the government’s view, most

24   political candidates were avoiding stating their positions.              Even



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 1   if the law did not mandate politicians to take any particular

 2   position, but simply required them, under the threat of civil

 3   penalties, to publicly spell out their position (or lack thereof)

 4   on those controversial issues, there can be little doubt that such

 5   a law would compel controversial disclosures.                 That law would be

 6   subject to heightened scrutiny under the First Amendment.                 AB 587

 7   is no different.

 8         In this sense, forcing X Corp. to take positions on the

 9   categories of content selected by the state does, in fact, force X

10   Corp. to “convey a message fundamentally at odds with its mission”

11   and “business[].”       Nat'l Ass’n of Wheat Growers, 2023 WL 7314307,

12   at *12. Indeed, X Corp.’s mission is to provide a robust engagement

13   and debate community pursuant to its own principles of content

14   moderation, rather than to frame the issues in the manner preferred

15   by the State, and AB 587 directly interferes with that mission.

16         In any event, whether a law forces a person to “convey a

17   message fundamentally at odds with [their] mission” is only part

18   of the relevant inquiry concerning what is “uncontroversial” under

19   Zauderer.        As   the   Ninth    Circuit   made   clear   in   its   extended

20   discussion of the issue in Nat’l Ass’n of Wheat Growers, “NIFLA

21   tells us that the topic of the disclosure and its effect on the

22   speaker     is    probative     of    determining     whether      something   is

23   subjectively controversial.”            Id.    AB 587 flunks the subjective

24   part of the test quite dramatically — and perhaps that is why AG



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 1   Bonta chooses not to address it.                As the legislative history makes

 2   abundantly clear, the categories of speech that AB 587 asks social

 3   media companies to define — or announce that they have chosen not

 4   to define — are those having no “general public consensus” about

 5   how    to   define   or   moderate       them        because    their    boundaries     are

 6   “fraught     with    political     bias”      and      are     “difficult     to   reliably

 7   define.”       Affidavit      of       Joel   Kurtzberg,         dated    Oct.     6,   2023

 8   (“Kurtzberg     Aff.”)      Ex.    6    (Cal.        Assemb.    Comm.    on   Privacy   and

 9   Consumer Protection Report, 2021–22 Sess. (AB 587), Apr. 22, 2021)

10   at 4. And the detailed information that the companies are compelled

11   to provide about their content-moderation decisions concern the

12   most    controversial       decisions         that      lead    them    to    be   “equally

13   maligned” by members of the public, whether they restrict such

14   content or not.       Id.

15          Nor is AG Bonta able to reconcile his argument that the law

16   compels     uncontroversial        speech       with     the    statute’s     legislative

17   history or with his own statements that one of the law’s purposes

18   is to apply pressure from the public about content-moderation

19   decisions that will lead the companies to change their content-

20   moderation policies.         See, e.g., Kurtzberg Aff. Ex. 5 (Cal. Assemb.

21   Comm. on Judiciary Report, 2021–22 Sess. (AB 587), Apr. 27, 2021)

22   at 4 (“if social media companies are forced to disclose what they

23   do in this regard [i.e., how they moderate online content], it may

24   pressure them to become better corporate citizens by doing more to



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 1   eliminate hate speech and disinformation.”) (emphasis added); id.

 2   Ex. 1 (Mot. to Dismiss, Minds, Inc., et al. v. Bonta, No. 23-cv-

 3   2705    (ECF   23-1)    (C.D.   Cal.   May    25,   2023))   at   18–19   (“[T]he

 4   Legislature also considered that, by requiring greater transparency

 5   about platforms’ content-moderation rules and decisions, AB 587

 6   may result in public pressure on social media companies to ‘become

 7   better corporate citizens by doing more to eliminate hate speech

 8   and disinformation’ on their platforms. . . . This, too, is a

 9   substantial state interest.”) (emphasis added).               Indeed, the very

10   notion that the disclosures will result in “public pressure” on

11   the social media companies to change their policies presupposes

12   that the disclosures are so controversial that they will result in

13   the public demanding such changes.

14           AG Bonta argues that the statements compelled by AB 587 are

15   uncontroversial because the Ninth Circuit has held that, just

16   because a purely factual statement “can be tied in some way to a

17   controversial issue,” does not make it “for that reason alone

18   controversial.”        See Supp. Br. at 14 (citing CTIA II, 928 F.3d at

19   845).    But the disclosures compelled by AB 587 are not merely “tied

20   in some way to a controversial issue”; rather, they are designed

21   to generate public controversy about the actions of the social

22   media companies by framing a divisive debate in such a way that

23   will pressure the social media companies to change their content-

24   moderation policies to align with those desired by the State.                  To



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 1   this end, the statute focuses on what the legislative history

 2   concedes    are    the    most      controversial      and    politically       charged

 3   categories of content that, no matter how they are moderated, will

 4   invariably leave some set of users dissatisfied.                           See, e.g.,

 5   Kurtzberg Aff. Ex. 6 at 4 (noting that, while there is agreement

 6   that some categories of illegal content (e.g., child pornography)

 7   should be eliminated from social media platforms, “hate speech,

 8   racism,    extremism,      misinformation,        political     interference,       and

 9   harassment,      are     far   more    difficult       to   reliably      define,   and

10   assignment of their boundaries is often fraught with political

11   bias.     In such cases, [as regards moderating such content,] both

12   action    and    inaction      by   these    companies       seems   to    be   equally

13   maligned: too much moderation, and accusations of censorship and

14   suppressed      speech    arise;      too    little,    and   the    platform     risks

15   fostering a toxic, sometimes dangerous community.”); id. Ex. 5 at

16   4 (“[I]f social media companies are forced to disclose [how they

17   moderate such content], it may pressure them to become better

18   corporate citizens by doing more to eliminate hate speech and

19   disinformation.”).         That is not the kind of disclosure to which

20   Zauderer was meant to apply.                AG Bonta cites no case finding an

21   even remotely comparable statute to be “uncontroversial” under

22   Zauderer.       We are aware of none either.

23                    iii. Zauderer Does Not Apply Because AB 587 Does Not
                           Further A Substantial Governmental Interest
24
           Zauderer may apply only where the speech regulation at issue


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 1   “further[s]      some   substantial    —    that    is,   more   than    trivial   —

 2   governmental interest.”          CTIA II, 928 F.3d at 844.

 3         To date, the only interests that have been recognized by the

 4   Supreme Court or Ninth Circuit as sufficiently substantial to

 5   trigger Zauderer review are prevention of consumer deception and,

 6   in some instances, “furthering public health and safety.”                      Id.

 7   While the Ninth Circuit made clear in CTIA II that it was not

 8   “foreclos[ing] that other substantial interests in other cases may

 9   suffice as well,” it also clarified that, to qualify, the “interest

10   at stake must be more than the satisfaction of mere ‘consumer

11   curiosity.’”      Id. (quoting Nat’l Elec. Mfrs. Ass’n v. Sorrell, 272

12   F.3d 104, 115 n.6 (2d Cir. 2001)); see also Int’l Dairy Foods Ass’n

13   v. Amestoy, 92 F.3d 67 (2d Cir. 1996) (Vermont law was substantially

14   likely to violate First Amendment by requiring labeling of milk

15   produced by cows given recombinant Bovine Growth Hormone, even

16   though the milk produced by such cows was indistinguishable from

17   milk produced by untreated cows).

18         AB   587     does    not    further       a   sufficiently        substantial

19   governmental interest to trigger Zauderer.                 There is simply no

20   proof in the record – and the burden is on AG Bonta to provide such

21   proof3 – that the law prevents consumer deception or furthers a

22   “public health and safety” interest of the type that would satisfy

23
     3 See, e.g., CTIA II, 928 F.3d at 844 (when applying Zauderer, the burden is on
24   the government to come forward with evidence that the disclosures at issue
     “remedy a harm that is potentially real not purely hypothetical”) (quoting NIFLA,
     138 S. Ct. at 2367).

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 1   the   “substantial     interest”     threshold.      AG    Bonta      cites   a

 2   governmental interest in “requiring social media companies to be

 3   transparent about their content-moderation policies and decisions

 4   so that consumers can make informed decisions about where they

 5   consume and disseminate news and information,” Opp. at 13, but AG

 6   Bonta cites no evidence at all that this addresses a real problem

 7   and that consumers actually need the information provided by the

 8   statute (on top of the already-public content-moderation policies

 9   provided   by   covered   social    media   companies)    to   make   informed

10   decisions about what platforms to use.

11         Put another way, “transparency” is not a substantial interest

12   in itself, unless it serves some other important goal.                 That is

13   precisely why the Ninth Circuit held in CTIA II that the “interest

14   at stake must be more than the satisfaction of mere ‘consumer

15   curiosity.’”    928 F.3d at 844.     And while AG Bonta states that the

16   law will help “consumers make informed decisions” about the social

17   media platforms they use, there is just no evidence that AB 587

18   will do anything to actually accomplish that goal.

19         In fact, there is no evidence in the record that suggests that

20   there is any need for “increasing transparency” (Opp. at 23) —

21   beyond that already provided by the social media companies covered

22   by AB 587 — about how companies moderate the categories of content

23   set forth in § 22677(a)(3) that would satisfy anything other than

24   “consumer curiosity.”       There is no evidence, for example, that



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 1   consumers have been deceived in some significant way about social

 2   media companies’ current content moderation policies, feel ill-

 3   “informed” about the differences in content-moderation policies

 4   for the handful of social media companies covered by the statute,

 5   or need this kind of information about content-moderation policies

 6   to keep “safe” or “enfranchised.”            Opp. at 1–2.       As a result,

 7   Zauderer cannot supply the standard for AB 587’s constitutional

 8   review.

 9         Nor is it at all clear that AB 587 will do anything to address

10   a problem that is real and not just “purely hypothetical.”4                  AG

11   Bonta argues that the information required by the Terms of Service

12   Report is somehow “necessary to navigate among the disinformation,

13   threats, and hate speech on social media.”              Opp. at 2.      But AG

14   Bonta does not offer any explanation (let alone any evidence, as

15   is his burden) as to why consumers need this information to navigate

16   those threats or how this information will help them do so. Indeed,

17   AG Bonta does not even explain what legitimate basis the State has

18   in deeming pure speech a “threat” in the first place.             This is not

19   a straight-forward matter of common sense.           It is actually not the

20   slightest bit clear that AG Bonta is pursuing legitimate ends or

21   that the information will actually support those ends.                How, for

22   example, does knowing the number of times a social media platform

23
     4 In CTIA II, the Ninth Circuit held that the “substantial interest” requirement
24   is simply another way of stating that, in “the words of the Supreme Court,
     ‘Disclosures must remedy a harm that is ‘potentially real not purely
     hypothetical.’” 928 F.3d at 844 (quoting NIFLA, 138 S. Ct. at 2367).

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 1   took “action[]” against hate speech, disinformation, harassment,

 2   etc., do anything to protect a              consumer?   It does not.       The

 3   information compelled by AB 587, while burdensome to compile, does

 4   not even provide enough information to adequately assess how often

 5   platforms are removing particular kinds of content — that is, AB

 6   587 does not compel information that would reveal how many posts

 7   are on the social media platform overall, so the Report would not

 8   reveal the percentage of posts that are actioned or how often

 9   speech that arguably falls within these categories of content was

10   not actioned.    Moreover, as the Court recognized at oral argument,

11   because   AB   587   allows   social   media     companies   to   define   the

12   categories however they want (or not at all), it is not clear how

13   the statute provides consumers with statistics that are truly

14   needed to make informed choices about anything.              Hearing Tr. at

15   53:23-54:2 (THE COURT: “What good does that do you?           Why don’t you

16   give them your definition?      If you really wanted to know something,

17   if I asked you a question and I said, you can make your own

18   definitions, I’m not going to get much of a meaningful response

19   from you.”).     Finally, as the Court acknowledged at oral argument

20   if in fact, as the State has argued, the statute does not require

21   social media companies to make any statistical disclosures at all

22   as long as their categories of content moderation differ from those

23   listed in the statute, Hearing Tr. at 41:7-42:24 (AG Bonta arguing

24   that, since X Corp. claims not to use the categories listed in AB



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 1   587,    it   will   not    need   to   make   any   burdensome   statistical

 2   disclosures); Opp. at 18 (same), it is not clear that the statute

 3   will do anything other than incentivize the social media companies

 4   to use content-moderation categories that are different than those

 5   in the statute — which would further no substantial government

 6   interest at all.          Hearing Tr. at 38:5-13 (THE COURT: “Well, it

 7   would incentivize companies just to not have any categories, not

 8   to do anything. . . .        Your point’s well taken in that regard.     The

 9   easy way out of it would be to do something that would not satisfy

10   the very purpose that they’re trying to satisfy.”).

11          In the end, there is no real basis for asserting that AB 587’s

12   compelled disclosures will do anything to “maintain[] an informed,

13   enfranchised, and safe populace,” Opp. at 2, and what remains is a

14   “purely hypothetical” harm and a desire to satisfy “mere ‘consumer

15   curiosity,’” CTIA II, 928 F.3d at 844, which are insufficient to

16   trigger review under Zauderer.

17                   iv. Zauderer Does Not Apply Because, At The Very
                         Least, AB 587’s Compelled Disclosures Are
18                       Inextricably Intertwined With Core Political
                         Speech
19
            Assuming, arguendo, that AB 587’s compelled disclosures were
20
     commercial speech (and they are not), they would still be entitled
21
     to full First Amendment protection because they are “inextricably
22
     intertwined with otherwise fully protected speech.” Hunt, 638 F.3d
23
     at 715 (quoting Riley v. Nat'l Fed’n of the Blind of N. Carolina,
24



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 1   Inc., 487 U.S. 781, 796 (1988)).

 2         The disclosures compelled by AB 587 provide information about

 3   the content-moderation decisions made by social media companies.

 4   Those include whether to define and, if so, how to define categories

 5   of   constitutionally-protected          speech   that    are    “fraught        with

 6   political bias” and information about how those categories of

 7   content    were    moderated.        They       clearly    —     and   obviously

 8   purposely — require the platforms to reveal their positions on

 9   hotly   debated    and   controversial        political   topics.         Take    for

10   example, the requirement to disclose whether the social media

11   company believes that “hate speech” or “racism” are categories of

12   speech that should be disfavored on its platform and, if so, how

13   those controversial categories should be defined.                The answers to

14   those questions are, by their nature, political – that is, they

15   reveal a vision of how debate should be structured on social media

16   platforms to promote the public good.               Likewise, take AB 587’s

17   requirement that X Corp. provide a “detailed description” of “[a]ny

18   existing    policies     intended   to    address”    hate      speech,    racism,

19   extremism,      radicalization,          disinformation,        misinformation,

20   harassment,       and    foreign    political        interference.               See

21   § 22677(a)(4)(A).        If X Corp. were to include in its Terms of

22   Service Report a “detailed description” as to how its Hateful

23   Conduct Policy — which states, among other things, that “X’s

24   mission is to give everyone the power to create and share ideas



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 1   and information, and to express their opinions and beliefs without

 2   barriers” (Affidavit of Trust & Safety Team, dated Oct. 6, 2023,

 3   Ex. 4 at 2) — there is no way that X Corp. could separate this

 4   ‘commercial information’ from the “political or social issues” with

 5   which it is “inextricably intertwined.”        Gaudiya Vaishnava Soc. v.

 6   City & Cnty. of San Francisco, 952 F.2d 1059, 1063-64 (9th Cir.

 7   1990), as amended on denial of reh’g, (Dec. 26, 1991); see also

 8   Frazier v. Boomsma, 2008 WL 3982985, at *3–4 (D. Ariz. Aug. 20,

 9   2008) (finding commercial speech “inextricably intertwined” with

10   fully protected speech where it was “impossible to separate the

11   political from the commercial aspects”).         The same is true of the

12   mandate to provide statistics flowing from those decisions.           For

13   instance, AB 587 requires X Corp. to provide the total number of

14   flagged and actioned items “belonging to” the categories of content

15   in § 22677(a)(3).      See § 22677(a)(5)(A).     But, similarly, X Corp.

16   cannot provide that information without revealing its views on

17   those core political topics.

18         The speech compelled by AB 587’s Terms of Service Report is

19   thus materially distinct from that at issue in Bolger, where the

20   Supreme Court refused to grant full First Amendment protection to

21   the advertisements of a contraceptive manufacturer on the basis

22   that they did nothing more than “link[] [the] product to a current

23   public debate.”     See Bolger, 463 U.S. at 68.        Here, in contrast,

24   AB 587 forces X Corp. to take a position on extremely controversial



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 1   topics — either by defining controversial and difficult-to-define

 2   categories of speech or by stating publicly that the company

 3   chooses not to use those categories, which is a controversial

 4   political position in itself.

 5      II.   Central Hudson Does Not Apply

 6         Because AB 587 does not compel commercial speech, the standard
 7   of review set forth in Central Hudson cannot apply either.                  See
 8   Central Hudson, 447 U.S. at 562 (describing commercial speech as
 9   “speech proposing a commercial transaction”).              AB 587’s compelled
10   disclosures do not propose a commercial transaction, see Reply at
11   12–17, and, since it is not a “close question” as to whether that
12   is so, this Court should not even proceed to an examination of the
13   three Bolger factors.       See Hunt, 638 F.3d at 715 (citing Bolger,
14   463 U.S. at 66–67).       In any event, the Bolger factors — whether
15   (1) “the speech is an advertisement,” (2) “the speech refers to a
16   particular    product,”    and      (3)   “the   speaker    has    an   economic
17   motivation” (id.) — clearly support the conclusion that AB 587 does
18   not compel commercial speech.         See Reply at 14–15.         AB 587 plainly
19   does not regulate advertisements, and it compels X Corp. to take a
20   position on how to categorize and action user speech, not to
21   describe the product it sells, as to which it has an economic
22   motivation. Accordingly, the intermediate scrutiny test of Central
23   Hudson does not apply.
24



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 1    III.     Strict Scrutiny Applies

 2         AB 587 triggers strict scrutiny because it is content based
 3   and   does   not      regulate     any   “categories         of   speech”      that    are
 4   “exemp[t]”       from     the     normal       prohibition        on     content-based
 5   restrictions.”          NIFLA, 138 S. Ct. at 2372.                NIFLA, Brown, and
 6   IMDb.com make clear that the test for determining whether such an
 7   exemption    exists      is     stringent.         It   is   only      where   there    is
 8   “‘persuasive evidence . . . of a long (if heretofore unrecognized)
 9   tradition’ to that effect.”           NIFLA, 138 S. Ct. at 2372; Brown, 564
10   U.S. at 792; IMDb.com, 962 F.3d at 1121.
11         At oral argument, this Court asked whether strict scrutiny
12   automatically applies to content-based laws that compel speech that
13   is not commercial and posed several hypothetical questions about
14   laws that seem ill-suited for strict scrutiny, but appear to be
15   content-based and do not involve commercial speech.                       For example,
16   the Court asked what standard of review applies to laws requiring
17   people or companies to fill out income tax returns or requiring
18   certain information in the application for a driver’s license.                         See
19   Hearing    Tr.   at     30:12–17.        AG   Bonta     failed      to   address   these
20   hypotheticals in his supplemental brief.
21         We respectfully submit that NIFLA, Brown, and IMDb.com provide
22   a clear answer: strict scrutiny applies to content-based laws
23   absent “persuasive evidence” of a tradition of excluding such
24   speech from that kind of First Amendment scrutiny.                             One such


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 1   historically-recognized      exception       –   relevant   to     the   tax   law

 2   hypothetical posed by the Court at oral argument – occurs when

 3   “essential operations of government . . . require [speech] for the

 4   preservation of an orderly society.”             West Virginia State Bd. of

 5   Educ.     v.   Barnette,   319   U.S.   624,     645    (1943)     (Murphy,    J.,

 6   concurring).     Such speech is granted no First Amendment protection

 7   at all.

 8           For this reason, in United States v. Sindel, 53 F.3d 874 (8th

 9   Cir. 1995), the Eighth Circuit rejected a First Amendment challenge

10   to a criminal prosecution based on a failure to disclose certain

11   transactions on IRS Form 8300.          Citing Barnette, the court held

12   that, even if the law compelled the defendant to provide certain

13   personal information against his will, “[t]here is no right to

14   refrain from speaking when ‘essential operations of government may

15   require it for the preservation of an orderly society.’”                  Id. at

16   878 (quoting Barnette, 319 U.S. at 645).               Courts have relied on

17   this     recognized   “essential    operations”        exception    in   similar

18   contexts as well, for instance in requiring the completion of

19   decennial census questionnaires, see Morales v. Daley, 116 F. Supp.

20   2d 801, 816 (S.D. Tex. 2000), or in forcing convicted sex offenders

21   to disclose their current addresses, see United States v. Arnold,

22   740 F.3d 1032, 1035 (5th Cir. 2014); Medina v. Cuomo, 2015 WL

23   13744627, at *10 (N.D.N.Y. Nov. 9, 2015), report and recommendation

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 1   adopted, 2016 WL 756539 (N.D.N.Y. Feb. 25, 2016).5                   With AB 587,

 2   however, there are simply no “essential operations of government”

 3   that require covered social media companies to provide the speech

 4   compelled by AB 587’s Terms of Service Report.

 5           That should end the inquiry.           Since AB 587 is content based,

 6   and since there exists no historically-recognized exemption to the

 7   rule that content-based speech regulations trigger strict scrutiny,

 8   strict scrutiny must apply.           In the case of AB 587, however, there

 9   exist additional reasons as to why strict scrutiny applies.                     As

10   these have already been covered extensively in prior briefing, we

11   highlight them only briefly here:

12       x   AB 587 discriminates against certain speech based on its

13           viewpoint.    Plaintiff’s Memorandum in Support of Motion for

14           Preliminary Injunction (“PI Mot.”) at 38–39, 55–58; Reply at

15           22–25.   As the Supreme Court made clear in City Council v.

16           Taxpayers    for   Vincent,    “the    First   Amendment     forbids   the

17           government    to   regulate     speech    in   ways   that    favor    some

18           viewpoints or ideas at the expense of others.”             466 U.S. 789,

19
     5 In response to the Court’s hypothetical about laws requiring the disclosure
20   of information to get a driver’s license, we note that, while we are aware of
     no reported cases addressing that scenario, the “essential operations of
     government” exception likely applies to that as well. Moreover, the fact that
21   having a driver’s license is a privilege and not a right, see Miranda v. City
     of Casa Grande, 15 F.4th 1219, 1224 (9th Cir. 2021) (“There is, of course, no
22   express constitutional guarantee or other federal right to a driver's license.”);
     Rivera v. Pugh, 194 F.3d 1064, 1068 (9th Cir. 1999) (“An individual with a
23   driver's license has been given a privilege by the state; license revocation is
     the loss of a privilege, rather than a punishment.”), also lessens the force of
     any First Amendment argument against compelled disclosures. One need not get a
24   driver’s license at all, but if one wants a license, one may need to waive any
     First Amendment right not to provide the information requested.


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 1          804 (1984).   “It is of no moment,” moreover, that AB 587 “does

 2          not impose a complete prohibition” on particular viewpoints

 3          because the “distinction between laws burdening and laws

 4          banning speech is but a matter of degree.”           United States v.

 5          Playboy Ent. Grp., Inc., 529 U.S. 803, 812 (2000); Sorrell v.

 6          IMS Health Inc., 564 U.S. 552, 555–56 (2011) (same).           Even if

 7          AB 587 does not outright ban the categories of content set

 8          forth in § 22577(a)(3) — hate           speech, racism, extremism,

 9          radicalization, disinformation, misinformation, harassment,

10          and foreign political interference — it burdens particular

11          viewpoints among them, with the intent of pressuring the

12          social   media    companies   to    ban,   limit,   and   censor   those

13          viewpoints.      Under Supreme Court precedent, that is enough to

14          trigger strict scrutiny. Taxpayers for Vincent, 466 U.S. at

15          804; see also Rosenberger v. Rector and Visitors of Univ. of

16          Virginia, 515 U.S. 819, 829 (1995) (“When the government

17          targets not subject matter, but particular views taken by

18          speakers on a subject, the violation of the First Amendment

19          is all the more blatant. . . . The government must abstain

20          from regulating speech when the specific motivating ideology

21          or the opinion or perspective of the speaker is the rationale

22          for the restriction.”).

23      x   AB 587 regulates “speech about speech” because it infringes

24          several layers of constitutionally-protected speech — that



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 1          is,   it    infringes    both    the     social      media        companies’

 2          constitutionally-protected right to decide what is permitted

 3          on their platforms and the public’s right to access and

 4          disseminate    constitutionally-protected           content       on    those

 5          platforms that the State deems objectionable.              PI Mot. at 54–

 6          55; Reply at 25–30.

 7      x   AB    587     impermissibly      interferes         with      X        Corp.’s

 8          constitutionally-protected editorial judgments.               PI Mot. at

 9          46–50; Reply at 36–39.

10      x   AB 587 gives AG Bonta “unfettered discretion” to place burdens
11          on constitutionally protected speech that he disapproves of
12          and AG Bonta has already used AB 587 in an effort to coerce X
13          Corp. into moderating content and viewpoints as he sees fit.
14          PI Mot. at 58–60; Reply at 30–35.         In other words, AB 587 is
15          unconstitutional    because     it    grants   AG   Bonta     “unfettered
16          discretion” to regulate First Amendment activity.                 See, e.g.,
17          N.A.A.C.P., W. Region v. City of Richmond, 743 F.2d 1346, 1357
18          (9th Cir. 1984); Gaudiya Vaishnava Society, 952 F.2d at 1065–
19          66.   AG Bonta’s November 3, 2022 letter is evidence that he
20          is already threatening to use AB 587 to impose costly burdens
21          on X Corp. if it does not moderate content in the manner that
22          he prefers.     Affidavit of Wifredo Fernandez, dated Oct. 4,
23          2023, Ex. 1 (Letter from Attorney General Bonta to Twitter,
24          Inc., et al. (Nov. 3, 2022)) at 4; see also id. ¶¶ 14-19.


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 1         Under Supreme Court precedent, relief is appropriate when an

 2         unconstitutional application of a statute is threatened, even

 3         if there is no pending prosecution.             See, e.g., MedImmune,

 4         Inc. v. Genentech, Inc., 549 U.S. 118, 128-29 (2007) (“[W]here

 5         threatened    action   by     government   is   concerned,   we   do   not

 6         require a plaintiff to expose himself to liability before

 7         bringing suit to challenge the basis for the threat — for

 8         example, the constitutionality of a law threatened to be

 9         enforced.”) (emphasis in original).

10
                                         CONCLUSION
11

12         The Court should apply strict scrutiny to AB 587 and grant

     Plaintiff’s request for preliminary injunctive relief as to AB 587.
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 2   DATED: November 28, 2023 /s/ Joel Kurtzberg

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